                            Case 8:22-cv-02597-DKC            Document 26      Filed 12/02/22         Page 1 of 1



                                              IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE DISTRICT OF MARYLAND
              Maryland Chapter of the Sierra Club et al.
                                                                     *

                                                                     *
                    v.                                                            Case No. 22-cv-2597
                                                                     *
              Federal Highway Administration et al.

                                                                     *

                                                           RETURN OF SERVICE

                            I served the following documents (check all that apply):
                            X
                                   summons
                            X
                                   complaint and any attachments
                                   subpoena
                                   other - describe:

                            By (check method of service):

                                   Personal - place served:
                            X
                                   Certified mail, restricted delivery - attach green card
                                   Left copies at subject’s dwelling house or usual place of abode with person of
                                   suitable age and discretion residing therein
                                   Other - describe:



                            On (name of person or entity served): Maryland Department of Transportation

                            Date of service: 10/13/2022

                    I declare under penalty of perjury under the laws of the United States that the foregoing
             information is true and correct.

              11/30/2022
             Date                                                             Signature of Process Server
                                                                              Ridhwan Sediqe
                                                                              Printed Name of Process Server

                                                                              111 Sutter St, 21st Floor San Francisco, CA 94104

                                                                              Address of Process Server
                                                                              415-875-6148
                                                                              Telephone Number of Process Server


ReturnofService (06/2016)
